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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

Case No.: 2:18-cv-00831-JLS-MAA                                            Date: October 4, 2021
Title:       Paul Tonio Corswell v. Debbie Asuncion, Warden


Present:     The Honorable MARIA A. AUDERO, United States Magistrate Judge


                    James Muñoz                                             N/A
                    Deputy Clerk                                   Court Reporter / Recorder

           Attorneys Present for Petitioner:                  Attorneys Present for Respondent:
                        N/A                                                 N/A

Proceedings (In Chambers):              Order to Show Cause re: Petitioner’s Failure to File Status
                                        Report

        On January 22, 2020, the Court issued an order granting Petitioner’s motion for leave to
amend and motion for a stay. (ECF No. 38.) The Court ordered Petitioner to file every 60 days a
status report providing the Court with an update on the progress of his habeas proceedings in the
California courts. (Id. at 9.) Over 60 days have elapsed since Petitioner filed his last status report on
July 19, 2021. (See ECF No. 52.)

       Accordingly, Petitioner is ORDERED TO SHOW CAUSE why the Court should not
dismiss this action without prejudice for failure to prosecute and failure to comply with the Court’s
January 22, 2020 Order. Petitioner must respond in writing to this Order to Show Cause no later
than November 3, 2021. Instead of filing a written response, Petitioner may discharge this Order to
Show Cause by filing the requisite status report.

        Petitioner’s failure to timely comply with this Order to Show Cause will result in a
recommendation that this action be dismissed without prejudice for failure to prosecute and
failure to follow court orders.

It is so ordered.




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